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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                                                   Case No. 21-CR-105 (JMC)

        v.

 HENRY PHILLIP MUNTZER,

                         Defendant.

                                           ORDER

       The Court has reviewed Defendant Henry Phillip Muntzer’s motion requesting that the

United States Marshals Service arrange and incur the cost of his transportation in light of his

inability to pay costs attendant to his appearance for trial on February 5, 2024. ECF 72. The

Government has informed the Court that it takes no position on Defendant’s motion. Pursuant to

18 U.S.C. § 4285, the motion is hereby GRANTED and the United States Marshals Service is

DIRECTED to arrange, at its own expense, one-way, noncustodial transportation for Muntzer to

travel from his home in Dillon, Montana, to the District of Columbia for his trial to be held on

February 5, 2024, beginning at 9:00 AM before Judge Jia M. Cobb.

       SO ORDERED.

                                                    __________________________
                                                    JIA M. COBB
                                                    United States District Judge

Date: January 11, 2024




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